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                     EXHIBIT 3
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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                         Total MME (2006 - 2014)

                      Indivior Inc.                                     23.6%

                      SpecGx LLC                                       22.2%

       Mylan Pharmaceuticals, Inc.                            16.3%

West-Ward Pharmaceuticals Corp.                            13.7%

              Actavis Pharma, Inc.                6.2%

                Purdue Pharma LP                4.1%

               Par Pharmaceutical           3.1%

                       Sandoz Inc          2.8%

   Teva Pharmaceuticals USA, Inc.         1.9%

     Janssen Pharmaceuticals, Inc.       1.2%

Zydus Pharmaceuticals (USA) Inc.         1.0%

                Ethex Corporation        0.7%

Sun Pharmaceutical Industries, Inc.    0.5%

          Rhodes Pharmaceuticals       0.5%

                    AvKARE, Inc.       0.4%

       Endo Pharmaceuticals, Inc.      0.4%

   Alpharma Pharmaceuticals LLC        0.3%

                             Other       1.0%

                                  0.0%             10.0%       20.0%           30.0%     40.0%   50.0%   60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                     Total Dosage Units (2006 - 2014)

                      Indivior Inc.        2.3%

                      SpecGx LLC                                                                         55.5%

       Mylan Pharmaceuticals, Inc.       0.7%

West-Ward Pharmaceuticals Corp.                        7.9%

              Actavis Pharma, Inc.                        10.0%

                Purdue Pharma LP              3.6%

               Par Pharmaceutical                        9.2%

                       Sandoz Inc      0.1%

   Teva Pharmaceuticals USA, Inc.               4.0%

     Janssen Pharmaceuticals, Inc.     0.1%

Zydus Pharmaceuticals (USA) Inc.         0.9%

                Ethex Corporation         1.8%

Sun Pharmaceutical Industries, Inc.       1.6%

          Rhodes Pharmaceuticals         0.7%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.1%

   Alpharma Pharmaceuticals LLC        0.4%

                             Other       1.1%

                                  0.0%                 10.0%      20.0%     30.0%        40.0%   50.0%     60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                            Total MME (2006)

                      Indivior Inc.    0.0%

                      SpecGx LLC                           15.9%

       Mylan Pharmaceuticals, Inc.                                                     40.6%

West-Ward Pharmaceuticals Corp.                    7.6%

              Actavis Pharma, Inc.                  8.6%

                Purdue Pharma LP       0.3%

               Par Pharmaceutical                 6.8%

                       Sandoz Inc                   8.7%

   Teva Pharmaceuticals USA, Inc.                5.6%

     Janssen Pharmaceuticals, Inc.     0.3%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation         2.3%

Sun Pharmaceutical Industries, Inc.    0.4%

          Rhodes Pharmaceuticals       0.0%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.0%

   Alpharma Pharmaceuticals LLC           2.1%

                             Other       0.9%

                                  0.0%             10.0%    20.0%     30.0%        40.0%       50.0%   60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                        Total Dosage Units (2006)

                      Indivior Inc.    0.0%

                      SpecGx LLC                                                                  41.5%

       Mylan Pharmaceuticals, Inc.       1.0%

West-Ward Pharmaceuticals Corp.                 4.7%

              Actavis Pharma, Inc.                         11.8%

                Purdue Pharma LP       0.2%

               Par Pharmaceutical                                           26.2%

                       Sandoz Inc      0.3%

   Teva Pharmaceuticals USA, Inc.               4.7%

     Janssen Pharmaceuticals, Inc.     0.0%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation                 6.4%

Sun Pharmaceutical Industries, Inc.      0.9%

          Rhodes Pharmaceuticals       0.0%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.0%

   Alpharma Pharmaceuticals LLC           2.0%

                             Other     0.3%

                                  0.0%             10.0%           20.0%     30.0%        40.0%           50.0%   60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                            Total MME (2007)

                      Indivior Inc.    0.1%

                      SpecGx LLC                                     16.3%

       Mylan Pharmaceuticals, Inc.                                                                   43.1%

West-Ward Pharmaceuticals Corp.                              11.8%

              Actavis Pharma, Inc.                   6.7%

                Purdue Pharma LP          2.2%

               Par Pharmaceutical             3.5%

                       Sandoz Inc      0.6%

   Teva Pharmaceuticals USA, Inc.                       9.3%

     Janssen Pharmaceuticals, Inc.     0.6%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation          2.8%

Sun Pharmaceutical Industries, Inc.      0.8%

          Rhodes Pharmaceuticals       0.0%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.0%

   Alpharma Pharmaceuticals LLC           1.7%

                             Other     0.4%

                                  0.0%               10.0%            20.0%     30.0%        40.0%           50.0%   60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                        Total Dosage Units (2007)

                      Indivior Inc.    0.0%

                      SpecGx LLC                                                          47.1%

       Mylan Pharmaceuticals, Inc.       1.0%

West-Ward Pharmaceuticals Corp.                  6.2%

              Actavis Pharma, Inc.                         18.0%

                Purdue Pharma LP          2.1%

               Par Pharmaceutical                6.3%

                       Sandoz Inc      0.0%

   Teva Pharmaceuticals USA, Inc.                 7.7%

     Janssen Pharmaceuticals, Inc.     0.1%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation                 7.3%

Sun Pharmaceutical Industries, Inc.       2.0%

          Rhodes Pharmaceuticals       0.0%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.0%

   Alpharma Pharmaceuticals LLC          1.8%

                             Other     0.3%

                                  0.0%            10.0%   20.0%      30.0%        40.0%   50.0%   60.0%      70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                            Total MME (2008)

                      Indivior Inc.                  8.7%

                      SpecGx LLC                                       19.5%

       Mylan Pharmaceuticals, Inc.                                                            35.8%

West-Ward Pharmaceuticals Corp.                             12.6%

              Actavis Pharma, Inc.                6.0%

                Purdue Pharma LP                    7.9%

               Par Pharmaceutical          3.1%

                       Sandoz Inc        0.9%

   Teva Pharmaceuticals USA, Inc.         2.3%

     Janssen Pharmaceuticals, Inc.     0.0%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation          2.5%

Sun Pharmaceutical Industries, Inc.    0.1%

          Rhodes Pharmaceuticals       0.0%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.0%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other     0.6%

                                  0.0%             10.0%            20.0%        30.0%         40.0%   50.0%   60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                        Total Dosage Units (2008)

                      Indivior Inc.     0.6%

                      SpecGx LLC                                                                       53.4%

       Mylan Pharmaceuticals, Inc.       0.9%

West-Ward Pharmaceuticals Corp.                       7.5%

              Actavis Pharma, Inc.                              19.5%

                Purdue Pharma LP                 5.9%

               Par Pharmaceutical          2.9%

                       Sandoz Inc      0.0%

   Teva Pharmaceuticals USA, Inc.               4.7%

     Janssen Pharmaceuticals, Inc.     0.0%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation              4.0%

Sun Pharmaceutical Industries, Inc.    0.3%

          Rhodes Pharmaceuticals       0.0%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.0%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other     0.4%

                                  0.0%                10.0%   20.0%       30.0%        40.0%   50.0%       60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                            Total MME (2009)

                      Indivior Inc.                                  21.6%

                      SpecGx LLC                                             27.3%

       Mylan Pharmaceuticals, Inc.                                           27.1%

West-Ward Pharmaceuticals Corp.               3.7%

              Actavis Pharma, Inc.              4.1%

                Purdue Pharma LP                  5.7%

               Par Pharmaceutical          2.3%

                       Sandoz Inc          2.3%

   Teva Pharmaceuticals USA, Inc.        0.6%

     Janssen Pharmaceuticals, Inc.          3.1%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation      0.3%

Sun Pharmaceutical Industries, Inc.    0.0%

          Rhodes Pharmaceuticals       0.0%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.0%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other        1.9%

                                  0.0%               10.0%   20.0%           30.0%      40.0%   50.0%   60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                        Total Dosage Units (2009)

                      Indivior Inc.       1.9%

                      SpecGx LLC                                                                               62.5%

       Mylan Pharmaceuticals, Inc.       0.9%

West-Ward Pharmaceuticals Corp.            3.1%

              Actavis Pharma, Inc.                              19.6%

                Purdue Pharma LP                4.8%

               Par Pharmaceutical         1.9%

                       Sandoz Inc      0.1%

   Teva Pharmaceuticals USA, Inc.             3.5%

     Janssen Pharmaceuticals, Inc.     0.1%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation      0.1%

Sun Pharmaceutical Industries, Inc.    0.0%

          Rhodes Pharmaceuticals       0.0%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.0%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other       1.6%

                                  0.0%               10.0%   20.0%        30.0%        40.0%   50.0%   60.0%           70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                            Total MME (2010)

                      Indivior Inc.                                              26.7%

                      SpecGx LLC                                             23.1%

       Mylan Pharmaceuticals, Inc.                           13.9%

West-Ward Pharmaceuticals Corp.                              13.1%

              Actavis Pharma, Inc.            4.3%

                Purdue Pharma LP              4.4%

               Par Pharmaceutical         2.9%

                       Sandoz Inc                6.8%

   Teva Pharmaceuticals USA, Inc.      0.4%

     Janssen Pharmaceuticals, Inc.            3.8%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation      0.0%

Sun Pharmaceutical Industries, Inc.    0.4%

          Rhodes Pharmaceuticals       0.0%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.0%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other     0.3%

                                  0.0%               10.0%           20.0%           30.0%    40.0%   50.0%   60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                        Total Dosage Units (2010)

                      Indivior Inc.       2.9%

                      SpecGx LLC                                                                                     72.0%

       Mylan Pharmaceuticals, Inc.     0.5%

West-Ward Pharmaceuticals Corp.                      8.3%

              Actavis Pharma, Inc.        3.1%

                Purdue Pharma LP              5.1%

               Par Pharmaceutical             4.6%

                       Sandoz Inc      0.2%

   Teva Pharmaceuticals USA, Inc.         2.7%

     Janssen Pharmaceuticals, Inc.     0.1%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation      0.0%

Sun Pharmaceutical Industries, Inc.    0.4%

          Rhodes Pharmaceuticals       0.0%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.0%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other     0.0%

                                  0.0%           10.0%      20.0%     30.0%        40.0%   50.0%   60.0%     70.0%           80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                            Total MME (2011)

                      Indivior Inc.                                                  37.6%

                      SpecGx LLC                                         27.3%

       Mylan Pharmaceuticals, Inc.                7.1%

West-Ward Pharmaceuticals Corp.                        9.3%

              Actavis Pharma, Inc.              5.2%

                Purdue Pharma LP                5.2%

               Par Pharmaceutical          2.8%

                       Sandoz Inc        1.1%

   Teva Pharmaceuticals USA, Inc.      0.4%

     Janssen Pharmaceuticals, Inc.       1.7%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation      0.0%

Sun Pharmaceutical Industries, Inc.    0.0%

          Rhodes Pharmaceuticals       0.3%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.        1.7%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other     0.5%

                                  0.0%            10.0%       20.0%     30.0%        40.0%   50.0%   60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                        Total Dosage Units (2011)

                      Indivior Inc.           4.0%

                      SpecGx LLC                                                                                70.0%

       Mylan Pharmaceuticals, Inc.     0.3%

West-Ward Pharmaceuticals Corp.                  5.7%

              Actavis Pharma, Inc.            4.6%

                Purdue Pharma LP              4.3%

               Par Pharmaceutical                    7.2%

                       Sandoz Inc      0.0%

   Teva Pharmaceuticals USA, Inc.         2.5%

     Janssen Pharmaceuticals, Inc.     0.1%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation      0.0%

Sun Pharmaceutical Industries, Inc.    0.0%

          Rhodes Pharmaceuticals       0.6%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.4%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other     0.1%

                                  0.0%            10.0%     20.0%     30.0%        40.0%   50.0%   60.0%     70.0%      80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                            Total MME (2012)

                      Indivior Inc.                                                   33.9%

                      SpecGx LLC                                            26.4%

       Mylan Pharmaceuticals, Inc.     0.6%

West-Ward Pharmaceuticals Corp.                                13.5%

              Actavis Pharma, Inc.                         10.5%

                Purdue Pharma LP              3.5%

               Par Pharmaceutical          3.0%

                       Sandoz Inc               3.9%

   Teva Pharmaceuticals USA, Inc.        0.7%

     Janssen Pharmaceuticals, Inc.     0.6%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation      0.0%

Sun Pharmaceutical Industries, Inc.      0.8%

          Rhodes Pharmaceuticals         0.9%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.        1.3%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other     0.5%

                                  0.0%                 10.0%       20.0%     30.0%        40.0%   50.0%   60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                        Total Dosage Units (2012)

                      Indivior Inc.           3.8%

                      SpecGx LLC                                                                        55.3%

       Mylan Pharmaceuticals, Inc.     0.0%

West-Ward Pharmaceuticals Corp.                        8.8%

              Actavis Pharma, Inc.                     8.8%

                Purdue Pharma LP              3.3%

               Par Pharmaceutical                        10.5%

                       Sandoz Inc      0.1%

   Teva Pharmaceuticals USA, Inc.               4.1%

     Janssen Pharmaceuticals, Inc.     0.3%

Zydus Pharmaceuticals (USA) Inc.       0.0%

                Ethex Corporation      0.0%

Sun Pharmaceutical Industries, Inc.        2.8%

          Rhodes Pharmaceuticals         1.0%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.5%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other     0.6%

                                  0.0%               10.0%       20.0%     30.0%        40.0%   50.0%     60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                            Total MME (2013)

                      Indivior Inc.                                                     38.3%

                      SpecGx LLC                             16.9%

       Mylan Pharmaceuticals, Inc.       1.3%

West-Ward Pharmaceuticals Corp.                                      21.7%

              Actavis Pharma, Inc.                   7.7%

                Purdue Pharma LP              3.6%

               Par Pharmaceutical         2.2%

                       Sandoz Inc      0.0%

   Teva Pharmaceuticals USA, Inc.        0.7%

     Janssen Pharmaceuticals, Inc.     0.6%

Zydus Pharmaceuticals (USA) Inc.       0.2%

                Ethex Corporation      0.0%

Sun Pharmaceutical Industries, Inc.      1.4%

          Rhodes Pharmaceuticals         0.9%

                    AvKARE, Inc.           2.8%

       Endo Pharmaceuticals, Inc.      0.0%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other        1.8%

                                  0.0%               10.0%   20.0%           30.0%     40.0%    50.0%   60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                        Total Dosage Units (2013)

                      Indivior Inc.            4.6%

                      SpecGx LLC                                                                  47.4%

       Mylan Pharmaceuticals, Inc.     0.2%

West-Ward Pharmaceuticals Corp.                                  14.8%

              Actavis Pharma, Inc.             4.4%

                Purdue Pharma LP              3.3%

               Par Pharmaceutical                        10.7%

                       Sandoz Inc      0.0%

   Teva Pharmaceuticals USA, Inc.             3.9%

     Janssen Pharmaceuticals, Inc.     0.1%

Zydus Pharmaceuticals (USA) Inc.       0.2%

                Ethex Corporation      0.0%

Sun Pharmaceutical Industries, Inc.              5.9%

          Rhodes Pharmaceuticals         1.9%

                    AvKARE, Inc.       0.3%

       Endo Pharmaceuticals, Inc.      0.0%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other        2.4%

                                  0.0%               10.0%         20.0%     30.0%        40.0%   50.0%   60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                            Total MME (2014)

                      Indivior Inc.                                   21.8%

                      SpecGx LLC                                        23.8%

       Mylan Pharmaceuticals, Inc.            4.0%

West-Ward Pharmaceuticals Corp.                                               26.2%

              Actavis Pharma, Inc.       2.2%

                Purdue Pharma LP              3.5%

               Par Pharmaceutical          3.1%

                       Sandoz Inc        1.8%

   Teva Pharmaceuticals USA, Inc.      0.4%

     Janssen Pharmaceuticals, Inc.     0.0%

Zydus Pharmaceuticals (USA) Inc.                       8.9%

                Ethex Corporation      0.0%

Sun Pharmaceutical Industries, Inc.    0.4%

          Rhodes Pharmaceuticals         1.8%

                    AvKARE, Inc.       0.4%

       Endo Pharmaceuticals, Inc.      0.1%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other       1.6%

                                  0.0%               10.0%    20.0%            30.0%    40.0%   50.0%   60.0%   70.0%   80.0%


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                                      Labeler Market Share of 14 Opioid Drugs in Bayfield County, WI
                                                        Total Dosage Units (2014)

                      Indivior Inc.      1.9%

                      SpecGx LLC                                                                     49.0%

       Mylan Pharmaceuticals, Inc.       1.7%

West-Ward Pharmaceuticals Corp.                          10.4%

              Actavis Pharma, Inc.       2.0%

                Purdue Pharma LP              3.2%

               Par Pharmaceutical                                14.4%

                       Sandoz Inc      0.1%

   Teva Pharmaceuticals USA, Inc.         2.3%

     Janssen Pharmaceuticals, Inc.     0.0%

Zydus Pharmaceuticals (USA) Inc.                     7.5%

                Ethex Corporation      0.0%

Sun Pharmaceutical Industries, Inc.      1.5%

          Rhodes Pharmaceuticals          2.4%

                    AvKARE, Inc.       0.0%

       Endo Pharmaceuticals, Inc.      0.1%

   Alpharma Pharmaceuticals LLC        0.0%

                             Other            3.5%

                                  0.0%               10.0%          20.0%     30.0%        40.0%   50.0%     60.0%   70.0%   80.0%


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